Case 2:13-cr-00005-JRG-RSP          Document 185        Filed 09/10/13     Page 1 of 1 PageID #:
                                           592



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

UNITED STATES OF AMERICA                       §
                                               §
v.                                             §
                                                           Case No. 2:13-CR-5 (2)-JRG-RSP
                                               §
LINDSEY NOEL RAWLS                             §

              ORDER ADOPTING MAGISTRATE JUDGE=S REPORT AND
                       FINDING DEFENDANT GUILTY

       On this day, the Court considered the Findings of Fact and Recommendation of United

States Magistrate Judge Roy S. Payne regarding defendant=s plea of guilty to Count 15 with a

violation of 21 U.S.C. ' 841(a)(1) and 18 U.S.C. § 2, possession with intent to distribute

approximately 37 grams of a mixture or substance containing a detectable amount of heroin and 15

capsules containing a mixture or substance containing a detectable amount of heroin and aiding and

abetting. Having conducted a proceeding in the form and manner prescribed by FED. R. CRIM P.

11, the Magistrate Judge recommends that the Court accept the defendant=s guilty plea. The
     .
parties waived their right to file objections to the Findings of Fact and Recommendation. The

Court is of the opinion that the Findings of Fact and Recommendation should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

States Magistrate Judge, filed August 23, 2013, are hereby ADOPTED.

       It is further ORDERED that, pursuant to defendant=s plea agreement, the Court finds

defendant GUILTY of Count 15 of the indictment in the above-numbered cause.
        SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 10th day of September, 2013.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE
